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Attachment 1




                                           COUNT 1
                            (Destruction of Government Property)
                                       (18 U.S.C. § 1361)
       On or about March 13, 2021, RICHARD TIMOTHY HERNANDEZ willfully damaged

and destroyed, and attempted to damage or destroy, property owned by the United States, that is,

glass windows of the Mark O. Hatfield United States Courthouse, which damage exceeds $1000;

       In violation of 18 U.S.C § 1361.

                                           COUNT 2
                            (Destruction of Government Property)
                                       (18 U.S.C. § 1361)
       On or about March 20, 2021, RICHARD TIMOTHY HERNANDEZ willfully damaged

and destroyed, and attempted to damage or destroy, property leased by the United States, that is,

glass windows of the Portland Field Office of Immigration Customs Enforcement, which damage

exceeds $1000;

       In violation of 18 U.S.C §1361.

                                           COUNT 3
                            (Destruction of Government Property)
                                       (18 U.S.C. § 1361)
       That on April 1, 2021, RICHARD TIMOTHY HERNANDEZ willfully damaged and

destroyed, and attempted to damage or destroy, property owned by the United States, that is,

glass windows of the Mark O. Hatfield United States Courthouse, which damage exceeds $1000;

       In violation of 18 U.S.C § 1361.
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STATE OF OREGON                       )
                                      ) ss:                  AFFIDAVIT OF MICAH CORING
County of Multnomah                   )

              Affidavit in Support of a Criminal Complaint and Arrest Warrant

       I, Micah Coring, being duly sworn, do hereby depose and state as follows:

                             Introduction and Agent Background

       1.       I am a Senior Special Agent with the Federal Protective Service (FPS) and have

been since 2009. My current assignment is the Federal Protective Service Field Office in

Portland, Oregon, where I am assigned to investigate general crimes. I am also a liaison for the

Federal Bureau of Investigation’s Joint Terrorism Task Force (JTTF) and the FPS agency

representative for the Titan Fusion Center. I graduated from the Federal Law Enforcement

Training Center’s Criminal Investigator Training Program in August 2009. I have experience

investigating crimes against federal employees and federal property, including threats and

assaults on federal government employees, and damage to federal buildings and property.

       2.      I submit this affidavit in support of a criminal complaint and arrest warrant for

Richard HERNANDEZ. As set forth below, I have probable cause to believe that

HERNANDEZ committed or attempted to commit Destruction of Government Property of a

federal building, namely the Mark O. Hatfield United States Courthouse and the Portland Field

Office of the Immigration and Custom Enforcement (ICE), in violation of 18 U.S. Code § 1361.

       3.      The facts set forth in this affidavit are based on the following: my own personal

knowledge, knowledge obtained from other individuals during my participation in this

investigation, including other law enforcement officers, interviews of witnesses, my review of

records related to this investigation, communication with others who have knowledge of the


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events and circumstances described herein, and information gained through my training and

experience. Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for an arrest warrant, it does not set forth each fact that I or

others have learned during this investigation.

                                          Applicable Law

       4.      18 U.S.C. ௗ1361 makes it an offense to willfully injure or commit any

depredation against any property of the United States, or of any department or agency thereof, or

any property which has been or is being manufactured or constructed for the United States, or

any department or agency thereof, or attempts to commit any of the foregoing offenses.

                                   Statement of Probable Cause

       5.      Since on or about May 26, 2020, protesters have gathered regularly in Portland

public areas including Elizabeth Caruthers Park, Lownsdale Square, Chapman Square, and Terry

Schrunk Plaza among others. The Multnomah County Justice Center, which contains Portland

Police Bureau’s (PPB) Central Precinct and the Multnomah County Detention Center (MCDC),

the Mark O. Hatfield United States Courthouse (Hatfield Courthouse), and the Edith Green-

Wendell Wyatt Federal Building are across the street from three of these public areas.

       6       The federal government owns the entire city block (Block #24) occupied by the

Hatfield Courthouse. Easements have been granted for the sidewalks surrounding the Hatfield

Courthouse, but the property boundary extends past the sidewalks and into the streets

surrounding the courthouse, as shown below:




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      7.      The federal government leases the entire facility occupied by ICE, located at

ICE facility located at 4310 S Macadam Ave in Portland, OR., as depicted below.




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        8.      When they have occurred, Portland protests have often been followed by nightly

criminal activity in the form of vandalism, destruction of property, looting, arson, and assault.

As a result, the Hatfield Courthouse and the ICE facility have experienced significant damage to

the façade and building fixtures during the last year. Additionally, mounted building security

cameras and access control devices have been vandalized or stolen. Other federal properties in

Portland which have experienced heavy vandalism over the last 10 months include the historic

Pioneer Federal Courthouse, the Gus Solomon Courthouse, the Edith Green Wendall Wyatt

Federal Office Building, and the Citizenship and Immigration Service Building. Federal officials

estimate $2.3 million in damage has been inflicted on federal buildings in Oregon during the

year’s protests, including $1.6 million in damage to the Hatfield US Courthouse. FPS law

enforcement officers, Deputy U.S. Marshals, Boarder and Customs Enforcement Agents, and

other federal law enforcement officers working to protect the Hatfield Courthouse have been

subjected to threats, aerial fireworks (including mortars), high intensity lasers targeting officers’

eyes, thrown rocks, bottles, and balloons filled with paint from demonstrators while preforming

their duties.

        Hatfield Courthouse Damage – March 13-14, 2021

        9.      Beginning March 10, 2021, the General Services Administration and the FPS

began the process of removing the fence surrounding the Hatfield Courthouse. These barriers

had been erected during the summer of 2020 to protect the facility from nightly vandalism. By

the afternoon of March 13, 2021 all fencing, concrete barriers and plywood had been removed

from the facility.




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       10.     A Multnomah County Sheriff’s Deputy operates exterior Closed-Circuit Video

(CCV) cameras at the Multnomah County Justice Center which borders the Hatfield Courthouse

to the south. The cameras cover the area between the two buildings, some of the main entry to

the courthouse and views to the front of both buildings. The deputy provided footage recorded

the night of March 13, 2021, and the early morning of March 14, 2021. I reviewed the footage

and saw HERNANDEZ throw 13 objects in the direction of the Hatfield Courthouse windows.

Below are photos of the security video taken on March 13 – 14, 2021 showing HERNANDEZ.




       11.     On April 22, 2021, I received damage costs from a General Services

administration (GSA) Project Manager. The documents included photos of windows broken from

March 11-March 14, 2021 at the Hatfield Courthouse and an itemized bill for window

replacement and labor. The GSA Project Manager noted that the windows at this location require

a special film for impact, graffiti, and tint, causing the price to be higher than strictly replacing

glass. The bill for window replacement totaled $143,513.50. Photos of some of the damaged

windows are below.




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       ICE Facility Damage – March 20, 2021

       12.    I reviewed video retrieved from the CCV system located at the ICE facility for

March 20, 2021 between April 14-20, 2021. In the videos, I observed HERNANDEZ throw 26

objects at the facility on March 20, 2021. Photos of HERNANDEZ in the March 20, 2021 video

are below as are photos of rocks and damaged windows found at the scene.

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       ICE Facility Damage – April 1, 2021

       13.    Additionally, I reviewed video retrieved from the CCV system located at the ICE

facility for April 1, 2021 from April 14-20, 2021. In the videos, I observed HERNANDEZ throw

48 objects at the facility on April 1, 2021. Photos of HERNANDEZ in the April 1, 2021 video

are below.

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       14.     On April 29, 2021, I received a repair quote from the owner of the ICE facility.

The repair estimate is for two line items. The first is the replacement of 7 broken insulated

windows at a cost of $9,152.00. The second is for the replacement of 9 broken insulated

windows at a cost of $11,925.00. The owner stated, to the best of his knowledge the first 7

windows were broken by vandals on March 20, 2021 and the additional 9 windows were

broken on April 1, 2021.

       15.     Protest events in Portland are primarily attended by people in “black block,” a

term used to describe the all black, nondescript clothing. ANTIFA and other groups have stated

that the intent of wearing “black block” is to protect members of the group willing to take “direct

action” by making it difficult for law enforcement to identify individuals and further

anonymizing them (“direct action” is most often a criminal act of vandalizing property or

assaulting people).

       16.     I have personally met HERNANDEZ on several occasions and can recognize him

on sight by his distinctive characteristics and gait. During my viewing of security footage taken


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of the Hatfield Courthouse surroundings and the ICE facility, both live and recorded, I was able

to readily identify HERNANDEZ. In videos taken March 13, 14, 20 and April 1, I observed that

Hernandez was attired in black clothing, but with a white mask and black shoes with white

soles. Additionally, HERNANDEZ removes his mask often and he is easily identifiable by his

cleanly shaven face and bald head with a grey fringe of hair. HERNANDEZ is 56 years old and

moves with a shambling walk, in contrast to the mostly 20-something crowd, which also lends to

him being easily identifiable in video.

                                          Conclusion

       17.     Based on the foregoing, I have probable cause to believe the following violations

of 18 U.S.C § 1361 occurred:

       A.      That on or about March 13, 2021, RICHARD TIMOTHY HERNANDEZ

willfully damaged and destroyed, and attempted to damage or destroy, property owned by the

United States, that is, glass windows of the Mark O. Hatfield United States Courthouse, which

damage exceeds $1000;

       B.      That on or about March 20, 2021, RICHARD TIMOTHY HERNANDEZ

willfully damaged and destroyed, and attempted to damage or destroy, property leased by the

United States, that is, glass windows of the Portland Field Office of Immigration Customs

Enforcement, which damage exceeds $1000; and

       C.      That on April 1, 2021, RICHARD TIMOTHY HERNANDEZ willfully damaged

and destroyed, and attempted to damage or destroy, property owned by the United States, that is,

glass windows of the Mark O. Hatfield United States Courthouse, which damage exceeds $1000;




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And I therefore request that the Court issue a criminal complaint and arrest warrant charging

HERNANDEZ with these offenses.

       18.     Prior to being submitted to the Court, this affidavit, the accompanying complaint

and the arrest warrant were all reviewed by Assistant United States Attorney (AUSA) Greg

Nyhus. AUSA Nyhus informed me that in his opinion, the affidavit is legally and factually

sufficient to establish probable cause to support the issuance of the requested criminal complaint

and arrest warrant.

                                                      (By telephone)
                                                     Micah CORING
                                                     Senior Special Agent
                                                     Federal Protective Service

       Sworn to by telephone or other reliable means in accordance with Fed. R. Crim. P. 4.1 at

___________
  6:19 pm   am/pm
            xxxxxx on May ________,
                             28     2021.



                                                     ____________________________________
                                                     HONORABLE YOULEE YIM YOU
                                                     United States Magistrate Judge




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